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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TONYA DENISE WILLIAMS,
 DOREEN VAN BUREN,
 SHAWNA PAYNE MAXWELL,                           Case No. 2:17-cv-11336
 STACEY M. BURCH,
 DIMITRA JACKSON,                                HON. DAVID M. LAWSON
 WANDA L. WILLIAMS and
 SHARON JOHNSON,

             Plaintiffs,
 v.

 HEALTH ALLIANCE PLAN
 OF MICHIGAN,

             Defendant.
 __________________________________________________________________
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 __________________________________________________________________

                           FIRST AMENDED COMPLAINT

       Plaintiffs Tonya Denise Williams, Doreen Van Buren, Shawna Payne

 Maxwell, Stacey M. Burch, Dimitra Jackson, Wanda L. Williams, and Sharon

 Johnson, through their attorneys, Blanchard & Walker, PLLC, file this Complaint



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 against Defendant Health Alliance Plan of Michigan, seeking all available relief

 under the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, et seq. (“FLSA”).

 Plaintiffs allege that although Defendant classified them as “exempt” under the

 FLSA, see 29 U.S.C. § 213(a), they were in fact “non-exempt” employees for

 purposes of the FLSA and were not paid overtime wages when they worked over

 forty (40) hours in a week. The following allegations are based on personal

 knowledge as to Plaintiffs’ own conduct, and are made on information and belief as

 to the acts of others.

                                NATURE OF THE CASE

       1.     Plaintiffs have initiated the instant action to redress violations of the

 FLSA caused by Defendant Health Alliance Plan of Michigan’s (“HAP” or

 “Defendant”) failure to pay proper overtime wages to Plaintiffs. The original

 complaint was filed on April 26, 2017 by named Plaintiffs Tonya Denise Williams

 and Doreen Van Buren on behalf of themselves and all other similarly situated

 pursuant to 29 U.S.C. §216(b).

       2.     Plaintiffs are or were employed by HAP as Appeals and Grievance

 Analysts (“AGAs”) within the past three years.

       3.     During the applicable statutory period, Plaintiffs worked more than

 forty (40) hours per workweek but were not paid the proper overtime premium for

 all of their overtime hours.



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       4.     Under the FLSA, an employee is classified as exempt versus non-

 exempt according to their job duties. See 29 U.S.C. § 213(a). Non-exempt

 employees are entitled to overtime compensation under the FLSA. Id.

       5.     HAP improperly classified Plaintiffs as exempt employees under the

 FLSA, thereby denying them their overtime compensation as required by law.

                           JURISDICTION AND VENUE

       6.     This Court has subject matter jurisdiction to hear this Complaint and to

 adjudicate the claims stated herein under 28 U.S.C. § 1331 and 29 U.S.C. §§ 216(b)

 and 217 because this action involves a federal question under the FLSA.

       7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

 because Defendant resides in this district and because a substantial part of the events

 giving rise to the claims set forth herein occurred in this district.

                                        PARTIES

 Tonya Williams

       8.     Plaintiff Tonya Denise Williams (“Tonya Williams”) was an adult

 resident of the State of Michigan when this lawsuit was originally filed on April 26,

 2017. Since then, Plaintiff has moved to Richmond, Kentucky.

       9.     Tonya Williams was employed by HAP starting on or around

 September 2011. She was employed by HAP as an AGA from about April 2013 until

 on or around February 16, 2018.



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       10.    Prior to on or around November 2014, the job title for AGAs was

 “Member Advocate”; however, the actual job duties and responsibilities for AGAs

 has remained the same throughout the three years preceding this lawsuit

 notwithstanding the change in job title.

       11.    Tonya Williams is a covered “employee” within the meaning of the

 FLSA, 29 U.S.C. § 203(e).

       12.    Tonya Williams’s signed consent form was filed with the Court on

 April 26, 2017. See ECF No. 1-1.

 Doreen Van Buren

       13.    Plaintiff Doreen Van Buren (“Van Buren”) is an adult resident of the

 State of Michigan.

       14.    Van Buren was employed by HAP starting on or around May 1996. She

 was employed by HAP as an AGA from about July 2009 until on or around March

 30, 2018.

       15.    Van Buren is a covered “employee” within the meaning of the FLSA,

 29 U.S.C. § 203(e).

       16.    Van Buren’s signed consent form was filed with the Court on April 26,

 2017. See ECF No. 1-2.




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 Shawna Payne Maxwell

       17.   Plaintiff Shawna Payne Maxwell (“Maxwell”) is an adult resident of

 the State of Michigan. Her maiden name is Shawna Payne and her married name is

 Shawna Maxwell.

       18.   Maxwell has been employed by HAP as an AGA since on or around

 October 2011.

       19.   Maxwell is a covered “employee” within the meaning of the FLSA, 29

 U.S.C. § 203(e).

       20.   Maxwell’s signed consent form was filed with the Court on May 10,

 2017. See ECF No. 3.

 Stacey M. Burch

       21.   Plaintiff Stacey M. Burch (“Burch”) is an adult resident of the State of

 Michigan.

       22.   Burch was employed by HAP as an AGA from 2007 to 2018.

       23.   Burch is a covered “employee” within the meaning of the FLSA, 29

 U.S.C. § 203(e).

       24.   Burch’s signed consent form was filed with the Court on May 10, 2017.

 See ECF No. 3.

 Dimitra Jackson




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       25.      Plaintiff Dimitra Jackson (“Jackson”) is an adult resident of the State

 of Michigan.

       26.      Jackson was employed by HAP as an AGA until approximately

 November 21, 2014.

       27.      Jackson is a covered “employee” within the meaning of the FLSA, 29

 U.S.C. § 203(e).

       28.      Jackson’s signed consent form was filed with the Court on May 10,

 2017. See ECF No. 3.

 Wanda L. Williams

       29.      Plaintiff Wanda L. Williams (“Wanda Williams”) is an adult resident

 of the State of Michigan.

       30.      Wanda Williams was employed by HAP as an AGA until

 approximately February 2016.

       31.      Wanda Williams is a covered “employee” within the meaning of the

 FLSA, 29 U.S.C. § 203(e).

       32.      Wanda Williams’ signed consent form was filed with the Court on May

 10, 2017. See ECF No. 3.

 Sharon Johnson

       33.      Plaintiff Sharon Johnson (“Johnson”) is an adult resident of the State of

 Michigan.



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       34.    Johnson has been employed by HAP as an AGA.

       35.    Johnson is a covered “employee” within the meaning of the FLSA, 29

 U.S.C. § 203(e).

       36.    Johnson’s signed consent form was filed with the Court on September

 12, 2017. See ECF No. 15.

 Defendant HAP

       37.    HAP is a Michigan non-profit corporation with its corporate

 headquarters located in Detroit, Michigan.

       38.    HAP employs over 1,000 employees and has more than 675,000

 members in its medical benefit plans.

       39.    HAP administers health insurance benefits under health maintenance

 organization (HMO), preferred provider organization (PPO), and exclusive provider

 organization (EPO) plans. HAP also administers health and prescription drug plans

 for   individuals   who   qualify   for   Medicare.   HAP     Fact   Sheet,   HAP,

 https://www.hap.org/docs/fact_sheet.pdf (last visited April 26, 2017).

       40.    At all times material, HAP was an “enterprise engaged in commerce or

 in the production of goods for commence” as defined by the FLSA, 29 U.S.C.

 203(s)(1).

       41.    HAP is the “employer” of the Plaintiffs within the meaning of the

 FLSA, 29 U.S.C. § 203.



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                           GENERAL ALLEGATIONS

       42.   Defendant willfully misclassified Plaintiffs as “exempt” under the

 FLSA. As a result, Plaintiffs were illegally under-compensated for their work.

       43.   The FLSA provides that, with certain exceptions, employers must pay

 employees overtime of at least one and one-half times their regular rate of pay for

 any hours over forty worked in a week. 29 U.S.C. § 207(a)(1).

       44.   The FLSA exempts certain employees from the overtime requirements;

 however, an employer who claims an exemption under the FLSA has the burden of

 showing that the exemption applies.

       45.   Although the FLSA provides for certain exemptions to the mandates of

 paying overtime compensation, no exemption applies in this case.

       46.   Plaintiffs have the primary job duty of responding to grievances filed

 by HAP members over issues concerning insurance coverage and claim disputes.

       47.   Plaintiffs are not regularly engaged in the management and general

 business administration of HAP’s operations.

       48.   Plaintiffs’ actual primary job duties do not include the exercise of

 discretion and independent judgment with respect to matters of significance. They

 make no holistic decisions. Rather, manuals, rules and policies that are promulgated

 and enforced by HAP control nearly every aspect of their work.




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        49.   AGAs are supervised by a Grievance Manager. The Grievance

 Manager must approve nearly every aspect of the AGAs’ work to ensure compliance

 with rules and policies dictated by HAP. For example, the Grievance Manager must

 approve of any written communication sent by an AGA to any member of HAP’s

 benefits plans.

        50.   In the three years preceding the filing of this lawsuit, Plaintiffs regularly

 worked more than 40 hours per workweek without being paid their proper overtime

 compensation, in violation of the FLSA.

        51.   HAP has willfully failed to pay overtime as required under the FLSA

 and has done so knowingly and without any good faith legal basis.

        52.   HAP willfully operated under a common scheme to deprive Plaintiffs

 of proper overtime compensation by paying them less than what is required under

 law.

        53.   HAP was aware, or should have been aware, of its unlawful

 classification and recklessly chose to disregard the consequences of its actions.

                                     COUNT I
                   Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
                      Unpaid Overtime - On Behalf of All Plaintiffs

        54.   Plaintiffs are all victims of Defendant’s common policy of

 misclassifying its AGAs as exempt under the FLSA. This policy has resulted in




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 willful violations of Plaintiffs’ rights under the FLSA, and that have caused

 significant damage to Plaintiffs.

       55.      The job duties of Plaintiffs do not fit the definition of exempt

 administrative employees as forth in the FLSA, case law, and administrative

 regulations because:

             a. Their primary job duty is not directly related to the management and/or

                general business operations of HAP; and

             b. Their primary job duty does not include the exercise of discretion and

                independent judgment with respect to matters of significance; rather

                they must follow comprehensive company-wide policies and guidelines

                that dictate virtually every aspect of their job duties, and they have

                virtually no discretion in denying or approving an appeal.

       56.      The FLSA requires covered employers like Defendants to pay non-

 exempt employees like Plaintiffs no less than one and one-half (1.5) times their

 regular rate of pay for all hours worked in excess of forty (40) in a workweek. 29

 U.S.C. § 207.

       57.      Plaintiffs regularly worked more than forty (40) hours per week for

 Defendant, but Defendant did not properly compensate them for all of their overtime

 hours as required by the FLSA.




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       58.    Defendant did not and has not made a good-faith effort to comply with

 the FLSA.

       59.    Defendant willfully failed and refused to pay Plaintiffs wages at the

 required overtime rates.

       60.    Defendant’s willful failure and refusal to pay Plaintiffs overtime wages

 for time worked violates the FLSA. 29 U.S.C. § 207.

       61.    As a direct and proximate result of these unlawful practices, Plaintiffs

 suffered and continue to suffer wage loss and are therefore entitled to recover unpaid

 overtime wages for up to three years prior to the filing of their claims, liquidated

 damages or prejudgment interest, attorneys’ fees and costs, and such other legal and

 equitable relief as the Court deems just and proper.

                              PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs, individually, pray for relief as follows:

    a. A finding that Plaintiffs are similarly situated;

    b. Judgment against Defendant for an amount equal to Plaintiffs’ unpaid back
       wages at the applicable overtime rates;

    c. A finding that Defendant’s violations of the FLSA are willful;

    d. An amount equal to Plaintiffs’ actual damages as liquidated damages;

    e. All costs and attorneys’ fees incurred prosecuting this claim;

    f. An award of any pre- and post-judgment interest;

    g. Leave to add additional plaintiffs or claims by motion, or any other method
       approved by the Court; and


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    h. All further relief as the Court deems just and equitable.

                                        Respectfully submitted,

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 Date: October 10, 2018




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                          CERTIFICATE OF SERVICE

       I, herby certify that on October 10, 2018, my paralegal, Natalie Walter,

 electronically filed the foregoing paper with the Clerk of the Court using the ECF

 system, whereupon it is electronically served on all counsel of record.

                                        Respectfully submitted,

                                        /s/ David M. Blanchard
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